      Case 4:05-cr-00040-SWW            Document 575        Filed 09/14/15      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA                                                     PLAINTIFF

vs.                                NO. 4:05CR00040-006 SWW

JOHN RUTHERFORD                                                              DEFENDANT

                                             ORDER

       The above entitled cause came on for hearing September 14, 2015 on government’s motion

to revoke the supervised release previously granted this defendant in the United States District

Court for the Eastern District of Arkansas. Based upon the admissions of defendant and statements

of counsel, the Court found that defendant has violated the conditions of his supervised release

without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the government’s motion to revoke

defendant’s supervised release [doc #564] is granted and defendant’s supervised release is hereby

revoked. Defendant shall serve a term of imprisonment of TWENTY-FOUR (24) MONTHS in the

custody of the Bureau of Prisons. The Court recommends that defendant be incarcerated in Forrest

City, Arkansas; and that defendant participate in substance abuse treatment and

educational/vocational programs during incarceration.

       There will be NO supervised release to follow.

       IT IS FURTHER ORDERED that defendant be remanded to the custody of the U.S. Marshal

for transport to the designated facility to begin the service of the sentence imposed.

       DATED this 14th day of September 2015.

                                                      /s/Susan Webber Wright
                                                      United States District Judge
